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Place of confinement

1290 west yh Ape DISTRICT COURT

 

 

 

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City, State, Zip
Telephone

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ALASKA

(Enter full name of plaintiff in this action)

Plaintiff, (To be supplied by Court)
vs.

 

 

 

_ PRISONER'S
' COMPLAINT UNDER
THE CIVIL RIGHTS ACT
; 42 U.S.C. § 1983
(Enter full names of defendant(s) in this action. "
Do NOT use ef al.)
Defendant(s).
A. Jurisdiction
Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3).
B. Parties
1. Plaintiff; This complaint alleges that the civil rights of Kas} wD

(print your name)
who presently resides at

(mailing address or place of confinement)
were violated by the actions of the individual(s) named below.

Case 3:22-cv-00071-SLG Document1 Filed 03/31/22 Page1of9 _ ;

Case No. 2.22 Cf- COO 1 SLL,
2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

 

 

Defendant No.1, John Doe. is a citizen of
(name) .
Pos. Ka. , and is employed as a QOOT Cocveckion ars ce
(state) (defendant's government position/title)

X_This defendant personally participated in causing my injury, and | want money
damages. “-
OR
__The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

 

Defendant No.2, Sahn Doe. is a citizen of
(name)
B la sKo. _, andis employed as a Nooc Searoep nw \-
(state) (defendant's government position/title)

4_This defendant personally participated in causing my injury, and | want money
damages.
OR
___The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

 

Defendant No. 3, Yohn Doe. is a citizen of
(name)
Plas koa , and is employed as a Sh fy Seafseant
(state) “(defendant's government position/title)

A _This defendant personally participated in causing my injury, and | want money
damages.

OR

____The policy or custom of this official's government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

*“*REMINDER***
You must exhaust your administrative remedies before your claim can go forward.
THE COURT MAY DISMISS ANY UNEXHAUSTED CLAIMS.

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename

the claims, “Claim 4,” “Claim 5, etc.”).

Prisoner § 1983 -2
PSOI, Nov. 2013

Case 3:22-cv-00071-SLG Document 1 Filed 03/31/22 Page 2 of 9
Claim_1: On or about _ ~Jonussy 20,259 , my civil right to

(Date)
due process
(Medical care, access to the courts, due process, freedom of religion, free speech, freedom of association, freedom
from cruel and unusual punishment, etc. List only one violation.)

was violated by_ Floor SGT.

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1. ):

ON sc about Januaty 26,262) oF Cook inlet pre-trial Jaclib va Segcregak on
(Mad Delta oFP.cor Jahn Dee moved me Nsom Cel/ @ foCe ll 2-iwhen inmate _

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ofler entering dre Cell H>adman without tilorA. Punched me and pushed me

 

 

 

 

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. Prisoner § 1983-3 -
PSO, Nov. 2013

Case 3:22-cv-00071-SLG Document 1 Filed 03/31/22 Page 3 of 9
Claim 2: On or about JGnwory 2.0, 3.699 , my civil right to
, (Date)
Unusual Punisk mea

(Medical care, access to the courts, due process, freedom of religion, free speech, freedom of association, freedom
from cruel and unusual punishment, etc. List only one violation. )

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

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Prisoner § 1983 - 4
PSO1, Nov. 2013

Case 3:22-cv-00071-SLG Document 1 Filed 03/31/22 Page 4 of 9
Claim 3: On or about , my civil right to
(Date)

 

(Medical care, access to the courts, due process, freedom of religion, free speech, freedom of association, freedom
from cruel and unusual punishment, etc. List only one violation.)

was violated by

 

(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Prisoner $ 1983 -5
PSO1, Nov. 2013

Case 3:22-cv-00071-SLG Document 1 Filed 03/31/22 Page 5 of 9
D. Previous Lawsuits

-

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes >No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

Docket number: Name of judge:

 

Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

b. Lawsuit 2:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

Docket number: Name of judge:

 

Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

3. Have you filed an action in federal court that was dismissed because it was
determined to be frivolous, malicious, or failed to state a claim upon which relief could
be granted?

Yes A No

If your answer is “Yes,” describe each lawsuit on the next page.

 

Prisoner § 1983 - 6
PSO1, Nov. 2013

Case 3:22-cv-00071-SLG Document1 Filed 03/31/22 Page 6 of 9
a
Lawsuit #1 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

 

 

 

 

 

 

 

 

 

 

b. Name of federal court Case number:

c. The case was dismissed as: ____ frivolous, __ malicious and/or ___ failed to state a claim
d. Issue(s) raised:

e. Approximate date case was filed: Date of final decision:

Lawsuit #2 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

b. Name of federal court Case number:

c. The case was dismissed as: ___ frivolous, __ malicious and/or __ failed to state a claim
d. Issue(s) raised:

e. Approximate date case was filed: Date of final decision:

Lawsuit #3 dismissed as frivolous, malicious, or failed to state a claim:

a. Defendant(s):

b. Name of federal court Case number:

c. The case was dismissed as: ___ frivolous, __ malicious and/or __ failed to state a claim

 

d. Issue(s) raised:
e. Approximate date case was filed: Date of final decision:
4. Are you in imminent danger of serious physical injury? Yes _¥% No

lf your answer is “Yes,” please describe how you are in danger, without legal
argument/authority:

 

 

 

 

Prisoner § 1983 - 7
Case 3:22-cv-00071-SLG Document1 Filed 03/31/22 Page 7 of SS" N™7!3
F. Request for Relief

Plaintiff requests that this Court grant the following relief:

 

1. Damages in the amount of $

2. Punitive damages in the amount of $

 

3. An order requiring defendant(s) to

 

4. A declaration that

5. Other:

 

Plaintiff demands a trial by jury. Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff in the
above action, that s/he has read the above civil rights complaint and that the
information contained in the complaint is true and correct.

Executed at Cook inlet Pre -Traal on_ Jan, Ro, JoZ!)
(Location) ' (Date)

2, ie ¢ as ——

(Plaintiff's Signature)

 

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney's Address and Telephone Number

Prisoner § 1983 - 8
PSOIL, Nov. 2013

Case 3:22-cv-00071-SLG Document1 Filed 03/31/22 Page 8 of 9
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District of BgsKes ,

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